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Western Division

Ci..l*_"l'~ii\l_ U.S. DIST. CT:
QJ-. w_o ca rrv. tenants

-vs- Case No. 2:05cr20212-4Ma

UNITED STATES OF AMERICA

 

HOWARD COVINGTON

 

ORDER OF DETENT|ON PEND|NG TRlAL
F|ND|NGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(t), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECTlONS REGARD|NG DETENTION

HOWARD COVINGTON is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. HOWARD COVINGTON shall be afforded a reasonable
opportunity for private consultation with defense counsel On order of a Court of the United States or on request of an
attorney for the government, the person in charge of the corrections facility shall deliver the Defendant to the United
States marshal for the purpose of an appearance in connection with a Court proceedingl

r,,_..

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE .TUDGE

Date: Junc 16, 2005

This doctment entered on the docket sheet in compliance
with Fm|e 55 and/or 32t‘bl FRCrP on ‘ "

29

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:05-CR-202l2 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

PDA

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Honorable Sarnuel Mays
US DISTRICT COURT

